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Managing Attorney

                                              June 11, 2018
   Judge Robert Drain
   United States Bankruptcy Court
   Southern District of New York

           Re:          Kristen M. Farley
           Case Number: 16-23672
           Subject:     Status Report of Loss Mitigation between Debtors and Creditor

   Dear Judge Drain:

           Our office represents U.S. Bank Trust National Association as Trustee of Bungalow
   Series III Trust by its servicer SN Servicing Corporation in the pending loss mitigation
   proceedings. Please accept this letter as an update on the current loss mitigation proceedings.

       On May 23, 2018, Debtor’s attorney was apprised that a transfer of claim was occurring on
   the file. On May 24, 2018, our office provided Debtor’s Attorney with the new creditor’s loss
   mitigation package to be completed.

       Our office has not received a completed package as of the date of this letter, and consents to
   adjourning the status conference to allow debtor’s attorney to submit a package for Creditor’s
   review.


           Please do not hesitate to contact our office with any questions.

   Sincerely,




   STERN & EISENBERG, P.C.
